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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

B.T., by and through
her next friend, ROBIN T.,
and A.G., by and through his
next friend, SUSEL S.,

      Plaintiffs,

v.                                            Case No.: 4:22cv212-MW/MJF

SIMONE MARSTILLER, in her
official capacity as Secretary of the
Florida Agency for Health Care
Administration,

     Defendant.
___________________________/

     ORDER GRANTING MOTION TO PROCEED ANONYMOUSLY

      This Court has considered, without hearing, Plaintiffs’ unopposed motion to

proceed anonymously. ECF No. 17. The unopposed motion, ECF No. 17, is

GRANTED. Plaintiffs may proceed anonymously.

      SO ORDERED on June 28, 2022.

                                        s/Mark E. Walker                   ____
                                        Chief United States District Judge
